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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.                                             Case No. 24-CR-372-SEH

  ARTHUR EDWARD SUAREZ JR.,
  ET AL.,

                 Defendants.


                               ENTRY OF APPEARANCE

       The United States of America, by Reagan V. Reininger, Assistant United States

 Attorney for the Northern District of Oklahoma, hereby enters her appearance as

 counsel to prosecute the forfeiture matters of the case for the United States of America.

                                          Respectfully submitted,

                                          CLINTON J. JOHNSON
                                          UNITED STATES ATTORNEY

                                          /s/ Reagan V. Reininger
                                          REAGAN V. REININGER, OBA #22326
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                            CERTIFICATE OF SERVICE

    I hereby certify that on December 23, 2024, the foregoing document was
 electronically transmitted to the Clerk of Court using the ECF System for filing and
 transmittal of a Notice of Electronic Filing to counsel of record.

                            /s/ Caytlynn Jeffries-Swoveland
                            CAYTLYNN JEFFRIES-SWOVELAND, Data Analyst




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